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 2                                                  THE HONORABLE BARBARA J. ROTHSTEIN

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                                  UNITED STATES DISTRICT COURT
 9                          FOR THE WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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     DAVID GARRET; and TLJ, LLC                     Case No. 2:19-cv-01129 BJR
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                             Plaintiffs,            ORDER AND FINAL JUDGMENT DISMISSING
12                                                  PLAINTIFFS’ CLAIMS AGAINST DEFENDANT
                vs.                                 POWELL
13   MATERIA GROUP LLC; MATERIA
     GROUP INC.; DEREK MULLER;
14   ANTHONY BERGIN; WILLIAM POWELL;
     JOHN MOTTA; and JOSEPH MOTTA
15
                             Defendants.
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17              WHEREAS, on September 11, 2020, Plaintiffs David Garret and TLJ, LLC and Defendant

18   William Powell (together, the “Parties”) advised the Court that a settlement has been reached

19   between them (Dkt. No. 41);

20              WHEREAS, on September 30, 2020, the Parties jointly moved this Court under FRCP

21   54(d) to enter a final judgment dismissing all claims asserted by Plaintiffs against Defendant

22   Powell with prejudice and without an award of costs or attorneys’ fees;

23              WHEREAS, the Court finds no reason to delay resolution of the dispute between the

24   Parties.
     FINAL JUDGMENT DISMISSING                                           BAKER & HOSTETLER LLP
25
     PLAINTIFFS’ CLAIMS AGAINST                                             999 Third Avenue, Suite 3900
                                                                              Seattle, WA 98104-4076
     DEFENDANT POWELL                      -1-                         Tel: 206.332.1380 | Fax: 206.624.7317
     Case No. 2:19-cv-01129
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 1
            IT IS HEREBY ORDERED that all claims asserted by Plaintiffs against Defendant Powell
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     are dismissed with prejudice and without an award of costs or attorneys’ fees. Plaintiffs’ claims
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     against the remaining defendants—Material Group, LLC, Materia Group, Inc. Derek Muller,
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     Anthony Bergin, and John Motta—remain pending.
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            Dated this 2nd day of October, 2020.
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                                                         Barbara Jacobs Rothstein
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                                                         U.S. District Court Judge
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25    FINAL JUDGMENT DISMISSING PLAINTIFFS’                                BAKER & HOSTETLER LLP
      CLAIMS AGAINST DEFENDANT POWELL                                         999 Third Avenue, Suite 3900
                                                                                Seattle, WA 98104-4076
      -2-                                                                Tel: 206.332.1380 | Fax: 206.624.7317
      Case No. 2:19-cv-01129
